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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE              )
COMMISSION,                                  )
                                             )
                      Plaintiff,             )
                                             )
v.                                           )      Civil Action No. 12-12324-MLW
                                             )
BIOCHEMICS, INC., JOHN J. MASIZ,             )
CRAIG MEDOFF and GREGORY S.                  )
KRONING,                                     )
                                             )
                      Defendants.            )


                 MASIZ NOTICE OF PAYMENT OF JUDGMENT
(Proposed Judgment 8-15-17 (Doc. #339-1) Approved by Order Dated 8-18-17 (Doc. #344))

       Defendant John Masiz gives notice that he has complied with the payment requirements

regarding the Judgment (Proposed Judgment dated 8-15-17 (Doc. #339-1) entered by Order of

the Court dated 8-18-17 (Doc. #344) by delivering this date by Federal Express delivery a

cashier's check in the amount of $120,000.00 to:

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

The check was accompanied by a letter identifying the case title, civil action number, and name

of this Court; name as defendant in this action; and specifying that payment is made pursuant to

the Final Judgment. See, Final Judgment As To Defendant John J. Masiz 8-15-17 (Doc. #339-1)

paragraph IV entered as an Order of the Court dated 8-18-17 (Doc. #344).
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Dated: January 26, 2018

Respectfully submitted by his counsel:


/s/ Jan Schlichtmann
Jan R. Schlichtmann, Esq. (BBO #445900)
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                       CERTIFICATE OF ELECTRONIC SERVICE

      I hereby certify that, on January 26, 2018 a true and correct copy of the foregoing
document was served on counsel for the Commission by electronic service through the CM/ECF.

Dated: January 26, 2018

Respectfully submitted,

Defendant John Masiz
By his attorney

/s/ Jan Schlichtmann
Jan R. Schlichtmann, Esq. (BBO #445900)
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